                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION

                            No. 5:14-HC-2251-D

JEROME VAN BUREN,                   )
                                    )
     Petitioner,                    )
                                    )
     v.                             )    MOTION TO DISMISS
                                    )    OR IN THE ALTERNATIVE
KENNY ATKINSON                      )    MOTION FOR SUMMARY JUDGMENT
                                    )
     Respondent.                    )

     The Respondent, Warden Kenny Atkinson, by and through the United

States Attorney for the Eastern District of North Carolina, hereby

submits this Motion to Dismiss or, in the alternative, Motion for

Summary Judgment, pursuant to Fed. R. Civ. P. 12(b)(6) and 56. A

memorandum of law in support of this motion is being filed herewith.

     Respectfully submitted this 1st day of June, 2015.

                              THOMAS G. WALKER
                              United States Attorney

                              By:    /s/ Robert J. Dodson
                              ROBERT J. DODSON
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                       CERTIFICATE OF SERVICE

     This is to certify that I have this 1st day of June, 2015, served

a copy of the foregoing upon the Petitioner in this action, a

non-CM/ECF participant, by placing a copy of the document in an

envelope in the U.S. Mail, addressed as follows:

     Jerome Van Buren
     Reg. No. 24245-056
     Butner F.M.C.
     P.O. Box 1600
     Butner, NC 27509


                            /s/ Robert J. Dodson
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